                   Case 2:21-cv-00811-TSZ Document 57 Filed 07/15/22 Page 1 of 2




 1                                                            THE HONORABLE THOMAS S. ZILLY

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 6
                                  UNITED STATES DISTRICT COURT
 7                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 8

 9    BUNGIE, INC.,                                          No. 2:21-cv-811-TSZ

10                           Plaintiff,                      PLAINTIFF BUNGIE, INC.’S
                                                             NOTICE OF INTENT TO FILE
11            v.                                             SURREPLY PURSUANT TO
                                                             LOCAL RULES W.D. WASH. LCR
12    AIMJUNKIES.COM; PHOENIX DIGITAL                        7(g)
      GROUP, LLC; DAVID SCHAEFER; JORDAN
13    GREEN, JEFFREY CONWAY; AND JAMES
      MAY,
14
                             Defendants.
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16
              Please take notice that Plaintiff Bungie, Inc. intends to file a surreply pursuant to Local
17
     Rules W.D. Wash. LCR 7(g) “to strike material contained in” Defendants’ AimJunkies.com,
18
     Phoenix Digital Group, LLC, David Schaefer, Jordan Green, Jeffrey Conway, and James May
19
     Reply in Support of Defendants’ Motion for Partial Dismissal of Plaintiff’s First Amended
20
     Complaint (Dkt. No. 56).
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                                                                                Perkins Coie LLP
      PLAINTIFF’S NOTICE OF                                              1201 Third Avenue, Suite 4900
      INTENT TO FILE SURREPLY                                            Seattle, Washington 98101-3099
                                                                             Phone: +1.206.359.8000
      (No. 2:21-cv-811-TSZ) –1                                                 Fax: +1.206.359.9000
     157552538.1
                   Case 2:21-cv-00811-TSZ Document 57 Filed 07/15/22 Page 2 of 2




 1                                            By: /s/ William C. Rava
     Dated: July 15, 2022
 2                                                William C. Rava, Bar No. 29948
                                                  Jacob P. Dini, Bar No. 54115
 3                                                Perkins Coie LLP
                                                  1201 Third Avenue, Suite 4900
 4                                                Seattle, Washington 98101-3099
                                                  Telephone: +1.206.359.8000
 5                                                Facsimile: +1.206.359.9000
                                                  WRava@perkinscoie.com
 6                                                JDini@perkinscoie.com

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